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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

SPIN MASTER LTD., a Canadian corporation
and SPIN MASTER, INC., a Delaware                   Case No. 18-cv-07673
corporation,
                                                    Judge John Z. Lee
               Plaintiffs,
                                                    Magistrate Judge Mary M. Rowland
v.

FANYI TOY STORE, et al.,
               Defendants.


                              SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on February 7, 2019 [52] in

favor of Plaintiffs Spin Master Ltd. and Spin Master, Inc. (collectively, “Spin Master” or

“Plaintiffs”) and against the Defendants Identified in Schedule A in the amount of two hundred

and fifty thousand dollars ($250,000) per Defaulting Defendant for willful use of counterfeit

Plaintiffs’ Trademarks in connection with the offer for sale and/or sale of products through at

least the Defendant Internet Stores, and Plaintiffs acknowledge payment of an agreed upon

damages amount, costs, and interest and desires to release this judgment and hereby fully and

completely satisfy the same as to the following Defendant:

               Defendant Name                                        Line No.
                   see you                                              54

       THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendant is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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Dated this 2nd day of July 2020.     Respectfully submitted,

                                      /s/ Allyson M. Martin
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